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 1   HEATHER E. WILLIAMS, Bar #122664
     Federal Defender
 2   BENJAMIN D. GALLOWAY, Bar #214897
     Assistant Federal Defender
 3   Designated Counsel for Service
     801 I Street, 3rd Floor
 4   Sacramento, California 95814
     Telephone: (916) 498-5700
 5
     Attorney for Defendant
 6   ARTURO GONZALEZ-MORAN
 7
 8                                 IN THE UNITED STATES DISTRICT COURT
 9                               FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11
12   UNITED STATES OF AMERICA,                         )   No. 2:12-cr-0432 JAM
                                                       )
13                          Plaintiff,                 )   STIPULATION AND ORDER CONTINUING
                                                       )   STATUS CONFERENCE AND EXCLUDING
14          v.                                         )   TIME
                                                       )
15   ARTURO GONZALEZ-MORAN and                         )   Date: September 17, 2013
     GILBERTO LORENZO LUVIO,                           )   Time: 9:45 a.m.
16                                                     )   Judge: Hon. John A. Mendez
                            Defendants.                )
17                                                     )
     _______________________________                   )
18
19          IT IS HEREBY STIPULATED and agreed to between the United States of America through
20   MICHAEL McCOY, Assistant U.S. Attorney; defendant ARTURO GONZALEZ-MORAN by and through
21   his counsel, BENJAMIN GALLOWAY, Assistant Federal Defender; and defendant GILBERTO LORENZO
22   LUVIO, by and through his counsel, J. PATRICK McCARTHY, that the status conference set for July 30,
23   2013 be continued to September 17, 2013 at 9:45 a.m.
24          The reason for this continuance is to allow defense counsel additional time to review discovery with
25   the defendant, to examine possible defenses and to continue investigating the facts of the case.
26          The parties stipulate that the ends of justice served by the granting of such continuance outweigh the
27   interests of the public and the defendant in a speedy trial.

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 1        Speedy trial time is to be excluded from the date of this order through the date of the status conference
 2   set for September 17, 2013, pursuant to 18 U.S.C. § 3161 (h)(7)(B)(iv) [reasonable time to prepare] (Local

 3   Code T4).

 4
     DATED: July 24, 2013                               Respectfully submitted,
 5
                                                        HEATHER E. WILLIAMS
 6                                                      Federal Defender

 7                                                      /s/ Benjamin Galloway
                                                        BENJAMIN GALLOWAY
 8                                                      Assistant Federal Defender
                                                        Attorney for Defendant
 9                                                      ARTURO GONZALEZ-MORAN

10
                                                        /s/ J. Patrick McCarthy
11                                                      J. PATRICK McCARTHY
                                                        Attorney for Defendant
12                                                      GILBERTO LORENZO LUVIO

13   DATED: July 24, 2013                               BENJAMIN B. WAGNER
                                                        United States Attorney
14
                                                        /s/ Michael McCoy
15                                                      MICHAEL McCOY
                                                        Assistant U.S. Attorney
16                                                      Attorney for Plaintiff

17
18
                                                ORDER
19
          IT IS SO ORDERED.
20
21   DATED: July 25, 2013
                                                        /s/ John A. Mendez
22                                                      HON. JOHN A. MENDEZ
                                                        United States District Court Judge
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24
25
26
27
28


     Stipulation/Order                                    -2-
